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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                   |
RAICES, INC.,                                      |
                                                   |
                            Plaintiff,             |
                                                   |
                               v.                  |       Civil Action No. 15-1318 (JEB)
                                                   |
U.S. IMMIGRATION AND CUSTOMS                       |
          ENFORCEMENT,                             |
                                                   |
                           Defendant.              |
                                                   |

                DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 56, Defendant U.S. Immigration and

Customs Enforcement (“Defendant”), a component agency of the U.S. Department of Homeland

Security, by and through undersigned counsel, moves for summary judgment on all claims in the

Complaint filed by Plaintiff Refugee and Immigrant Center for Education and Legal Services

(“Plaintiff”). As demonstrated by Defendant’s Statement of Material Facts Not in Genuine

Dispute and its Memorandum of Points and Authorities, Defendant is entitled to judgment in its

favor because no genuine issue of material fact exists to dispute that Defendant has satisfied its

obligations under the Freedom of Information Act, 5 U.S.C. § 552, in response to Plaintiff’s

request for information.

Dated: June 29, 2016                     Respectfully Submitted,
                                         CHANNING D. PHILLIPS, D.C. Bar No. 415793
                                         United States Attorney
                                         DANIEL F. VANHORN, D.C. Bar No. 924092
                                         Chief, Civil Division
                                    By: /s/ April Denise Seabrook
                                        APRIL DENISE SEABROOK, D.C. Bar No. 993730
                                        Assistant United Defendants Attorney
                                         COUNSEL FOR DEFENDANT
